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12                         IN THE UNITED STATES DISTRICT COURT
13                                     DISTRICT OF NEVADA
14

15   TRAEGER PELLET GRILLS LLC,                  Case No. 2:20-cv-2161
16                       Plaintiff,              COMPLAINT
17   v.                                          JURY TRIAL DEMANDED
18   GMG PRODUCTS LLC,
19                     Defendant.
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 1          Plaintiff Traeger Pellet Grills LLC (“Traeger”) demands a jury trial and alleges the

 2   following as its Complaint against Defendant GMG Products LLC (“GMG”):

 3
                                       NATURE OF THE ACTION
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 5          1.      This is a civil action for willful patent infringement of United States Patent No.

 6   10,158,720 (the “’720 Patent”) and United States Patent No. 10,218,833 (the “’833 Patent”)

 7   (collectively, the “Asserted Patents” and the “Asserted Claims”) pursuant to 35 U.S.C. § 1, et

 8   seq., and for such other relief as the Court deems just and proper.

 9          2.      Traeger is an innovative grill manufacturing company. It is the leading seller of

10   wood-pellet grills and second-leading seller of overall grills sold in the United States. Traeger

11   invented the original wood-fired grill in Mt. Angel, Oregon, over 30 years ago and has refined its

12   products through decades of mastering the craft of wood-fired cooking and by developing

13   innovative technologies for its grills, including its cloud-connected technology called WiFIRE®.

14   Traeger is headquartered in Salt Lake City, Utah, where it has hundreds of employees. Traeger

15   invests millions of dollars annually to continue to develop its wood-pellet grills and sell such

16   grills throughout the United States. These investments have allowed Traeger to successfully sell

17   its grills throughout the United States through its network of local Traeger dealers, positively

18   impacting hundreds of small businesses that successfully sell Traeger wood-pellet grills.

19          3.      Defendant GMG Products LLC (“Defendant GMG,” “Defendant” or “GMG”)

20   imports into, sells in, uses in, and/or offers to sell in the United States cloud-connected wood-

21   pellet grills (collectively, the “Accused Products”).

22          4.      Defendant GMG directly (literally and/or under the doctrine of equivalents) and

23   indirectly infringes at least one claim of each of the Asserted Patents as explained in detail in the

24   Counts below. The Asserted Claims of the Asserted Patents include at least claims 1, 2, 12, 16,

25   and 21–22 of the ’720 Patent and 1, 2, 3, 6–9, 11–14, 18 and 22–24 of the ’833 Patent.

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 1          5.      The Asserted Patents relate generally to remotely monitoring and controlling an

 2   electronically-controlled outdoor grill/smoker through a cloud computing platform.              The

 3   ’720 Patent and the ’833 Patent are attached to this Complaint as Exhibits 1–2, respectively.

 4          6.      Traeger owns all rights, title, and interest in each of the Asserted Patents.

 5   Certified copies of the recorded assignments of the Asserted Patents are attached as Exhibits 3–4.

 6
                                               THE PARTIES
 7

 8          7.      Plaintiff Traeger Pellet Grills LLC is a Delaware corporation having its principal

 9   place of business at 1215 East Wilmington Ave, Suite 200, Salt Lake City, Utah 84106.

10          8.      Traeger is an innovative grill manufacturing company. Traeger invented the

11   original wood-pellet grill in Mt. Angel, Oregon, over 30 years ago and has refined its products

12   through decades of mastering the craft of wood-fired cooking and by developing innovative

13   technologies for its grills, including its cloud-connected technology called WiFIRE®. Founded

14   in the mid-1980s by Joe Traeger, Traeger has become the leading seller of wood-pellet grills in

15   the United States and second leading seller of overall grills in the United States. Traeger Grills’

16   products are sold nationwide at large chain stores such as Home Depot, Ace Hardware, Costco,

17   Dick’s Sporting Goods, Academy Sports, Orchard Supply and others, as well as specialty

18   barbecue stores and online at Amazon.com, Walmart.com, through the Traeger Grills’ website,

19   and through the websites of various Traeger Grills resellers.

20          9.      Since 2009 across the United States Traeger Grills has sold more than 2.2 million

21   grills, more than 15.5 million accessories, and more than 30 million bags of wood pellets, the

22   wood fuel that powers Traeger’s grills. In 2019 alone, Traeger Grills sold over $400 million of

23   grills and accessories in the United States.

24          10.     On information and belief, Defendant GMG Products LLC is a corporation

25   organized under the laws of Nevada with its registered agent in Nevada located at 3064 Silver

26   Sage Drive, Suite 150, Carson City, Nevada, 89701, USA and its manager located at 316

27   California Ave. Suite 1065, Reno, Nevada 89509.

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 1           11.     Defendant GMG Products LLC has its principal place of business at 72315 US

 2   HWY 101, Lakeside, Oregon, 97449, USA, with its registered agent in Oregon located at GKL

 3   Registered Agents of NV, Inc. 3064 Silver Sage Drive, Suite 150, Carson City, NV, 89701,

 4   USA.

 5           12.     On information and belief, Defendant GMG imports into, sells in, uses in, and/or

 6   offers to sell in the United States the Accused Products.

 7
                                           JURISDICTION AND VENUE
 8

 9           13.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

10   1338(a) because the claims alleged herein arise under the patent laws of the United States, 35

11   U.S.C. § 1, et seq.

12           14.     This Court has personal jurisdiction over Defendant GMG because Defendant

13   GMG is incorporated in the state of Nevada and because Defendant GMG has committed acts of

14   patent infringement in this judicial district, has systematic and continuous contacts in this judicial

15   district, regularly transacts business within this judicial district, and regularly avails itself of the

16   benefits of this judicial district.

17           15.     Venue is proper in this Court under 28 U.S.C. §§ 1391(b) and (c) and 28 U.S.C.

18   § 1400(b). In particular, venue is proper in this district because Defendant GMG Products LLC

19   is a corporation organized under the laws of Nevada with its registered agent in Nevada located

20   at 3064 Silver Sage Drive, Suite 150, Carson City, Nevada, 89701, USA and its manager located

21   at 316 California Ave. Suite 1065, Reno, Nevada 89509.

22
                                             ASSERTED PATENTS
23
                                 The ’720 Patent (U.S. Patent No. 10,158,720)
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25           16.     Traeger owns by valid assignment the right, title, and interest in the ’720 Patent
26   entitled, “Cloud System for Controlling Outdoor Grill with Mobile Application,” which issued
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 1   on December 18, 2018 and named Michael Colston as the inventor. The ’720 Patent issued from

 2   U.S. Patent Application Serial No. 15/954,199.

 3           17.     The ’720 Patent generally relates to remotely controlling a cloud-connected

 4   outdoor appliance, such as a grill or smoker, via a cloud-computing system for use in remote

 5   cooking. In particular, the claims of the ’720 Patent are directed to methods of using a cloud-

 6   based system for communicating with the cloud-connected grill. The grill is connected to a

 7   cloud-computing platform. Also connected to the cloud-computing platform, by way of a Wi-Fi

 8   or radio network, is a user’s mobile device operating a software application.           The user

 9   communicates with the grill via the application on the mobile device, which sends instructions to

10   the cloud-computing platform, which in turn, provides those instructions to the grill. The cloud-

11   connected grill communicates with the mobile device by sending connectivity and other

12   operational information to the cloud-computing platform, which in turn, provides the information

13   to the application on the user’s mobile device.

14           18.     The solution in the ’720 Patent overcomes the problem of connecting to a grill

15   only through nearfield connection methods such as Bluetooth that “necessitate that the user of

16   the appliance still be within a certain proximity of the appliance” to monitor and control the

17   operation of the grill.
                               The ’833 Patent (U.S. Patent No. 10,218,833)
18

19           19.     Traeger owns by valid assignment the right, title, and interest in the ’833 Patent
20   entitled, “Mobile Application for Controlling Outdoor Grill,” which issued on February 26, 2019
21   and named Michael Colston as the inventor.            The ’833 Patent issued from U.S. Patent
22   Application Serial No. 15/510,996.
23           20.     The ’833 Patent generally relates to a mobile application for remotely controlling
24   a cloud-connected outdoor appliance, such as a grill or smoker, via a cloud-computing system for
25   use in remote cooking. In particular, the claims of the ’833 Patent are directed to methods of
26   using the mobile application that communicates with and controls operation of the cloud-
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            Case 2:20-cv-02161-MMD-DJA Document 1 Filed 11/24/20 Page 6 of 13




 1   connected grill. The grill is connected to a cloud-computing platform. Also connected to the

 2   cloud-computing platform, by way of a Wi-Fi or radio network, is a user’s mobile device

 3   operating a software application.       The user communicates with the grill via the mobile

 4   application on the mobile device, which sends instructions to the cloud-computing platform,

 5   which in turn, provides those instructions to the grill. The cloud-connected grill communicates

 6   with the mobile device by sending connectivity and other operational information to the cloud-

 7   computing platform, which in turn, provides the information to the mobile application on the

 8   user’s mobile device.

 9           21.     The solution in the ’833 Patent overcomes the problem of connecting to the grill

10   only through nearfield connection methods that “necessitate that the user of the appliance still be

11   within a certain proximity of the appliance” to monitor and control the operation of the grill.

12
                    COUNT I: INFRINGEMENT OF U.S. PATENT NO. 10,158,720
13

14           22.     Plaintiff incorporates by reference the allegations in paragraphs 1 through 21, as if

15   fully set forth herein.

16           23.     On information and belief, Defendant GMG imports into, sells in, uses in, and/or

17   offers to sell in the United States the Accused Products. Defendant GMG’s acts in the United

18   States infringe, both directly and indirectly, the ’720 Patent.

19           24.     Examples of the products that infringe the ’720 Patent include Defendant GMG’s

20   products with “WiFi Smart Control,” which includes all of Defendant GMG’s “Prime Grills” and

21   certain of Defendant GMG ’s “Choice” grills: “Jim Bowie Prime,” “Daniel Boone Prime,”

22   “Davy Crockett Prime,” Big Pig Trailer Prime,” “Jim Bowie Choice,” and “Daniel Boone

23   Choice.”           See,    e.g.,    Grill     Model      Comparison        Chart,   available     at

24   https://greenmountaingrills.com/prime-grill-comparison/.          These products infringe the ’720

25   Patent when operated in the United States in the manner for which they are designed. Traeger

26   has not yet had the benefit of discovery, and thus this identification of specific models or types of

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 1   products is not intended to limit the scope of the Accused Products. Any remedy should extend

 2   to all of Defendant GMG’s infringing products.

 3          25.     On information and belief, use of the Accused Products directly infringes at least

 4   independent claims 1, 12, and 16 and dependent claims 2, 21, and 22 of the ’720 Patent.

 5          26.     Defendant GMG has violated 35 U.S.C. § 271(a), (b), and (c) by infringing the

 6   Asserted Patents directly, either literally or under the doctrine of equivalents, and indirectly.

 7   Defendant GMG directly infringes by using in the United States the systems and methods of the

 8   Asserted Claims of the ’720 Patent through Defendant GMG’s operation, demonstration, and/or

 9   testing of Defendant GMG’s cloud-connected grills with “WiFi Smart Control” in conjunction

10   with Defendant GMG’s cloud-based server and mobile application. In addition, Defendant

11   GMG’s retailers and customers directly infringe by using the systems and methods of the

12   Asserted Claims of the ’720 Patent when operating Defendant GMG’s cloud-connected grills

13   with “Wifi Smart Control” in conjunction with Defendant GMG’s cloud-based server and mobile

14   application.

15          27.     Additionally, Defendant GMG indirectly infringes because it knowingly and

16   intentionally encourages and/or aids its retailers and customers to practice the systems and

17   methods of the Asserted Claims of the ’720 Patent by offering to sell, selling, and importing the

18   Accused Products to its customers in the United States and providing to its retailers and

19   customers instructions for using the Accused Products in conjunction with Defendant GMG’s

20   cloud-based server and mobile application in an infringing manner. Defendant GMG provides

21   these instructions at least via its product manuals, its publicly accessible website, its mobile

22   device software application, and its other publicly accessible advertising and documents.

23   Defendant GMG had knowledge of its infringement of ’720 Patent at least as early as March 14,

24   2018 when Traeger sent Defendant GMG a cease-and-desist letter identifying U.S. Patent App.

25   Pub. No. 2017/0289336 (the “’336 Publication”) of the application to which the ’720 Patent

26   claims priority.

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 1           28.     Defendant GMG also had knowledge of its infringement of the ’720 Patent at

 2   least as early as its December 18, 2018 issue date because Defendant GMG filed a petition for

 3   post-grant review on the ’720 Patent on the very same date.             Defendant GMG also has

 4   knowledge of its infringement of the ’720 Patent from the filing and service of this complaint.

 5   Defendant GMG actively promotes the sale, use, and importation of its infringing cloud-

 6   connected wood-pellet grills in marketing materials, technical specifications, data sheets, web

 7   pages on its website, press releases, and user manuals, as well as at trade shows and through its

 8   sales and distribution channels that encourage infringing sales, offers to sell, and importation of

 9   the Accused Products. By these actions, Defendant GMG has had the specific intent to induce,

10   or was willfully blind to inducing infringement of the ’720 patent.

11           29.     On information and belief, Defendant GMG creates, endorses, and/or controls all

12   content posted on its website domain (greenmountaingrills.com) and the “Green Mountain

13   Grills” YouTube channel (www.youtube.com/channel/UCHSo9uoChX7HzISIptiFK3w).

14           30.     On information and belief, Defendant GMG also contributes to infringement of

15   the Asserted Claims of the ’720 Patent by others, including retailers and customers who use

16   Defendant GMG ’s cloud-connected wood-pellet grills within the United States, by offering to

17   sell, selling, and importing the Accused Products in the United States which are specially made

18   or adapted for use in an infringing manner and are not staple articles of commerce suitable for

19   substantial non-infringing use.

20           31.     A preliminary and exemplary claim chart comparing the Asserted Claims of the

21   ’720 Patent to Defendant GMG’s Accused Products is attached as Exhibit 5.

22
                    COUNT II: INFRINGEMENT OF U.S. PATENT NO. 10,218,833
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24           32.     Plaintiff incorporates by reference the allegations in paragraphs 1 through 31, as if

25   fully set forth herein.

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           Case 2:20-cv-02161-MMD-DJA Document 1 Filed 11/24/20 Page 9 of 13




 1             33.   On information and belief, Defendant GMG imports into, sells in, uses in, and/or

 2   offers to sell in the United States the Accused Products. Defendant GMG’s acts in the United

 3   States infringe, both directly and indirectly, the ’833 Patent.

 4             34.   Examples of the products that infringe the ’833 Patent include Defendant GMG’s

 5   products with “WiFi Smart Control,” which includes all of Defendant GMG’s “Prime Grills” and

 6   certain of Defendant GMG’s “Choice” grills: “Jim Bowie Prime,” “Daniel Boone Prime,”

 7   “Davy Crockett Prime,” Big Pig Trailer Prime,” “Jim Bowie Choice,” and “Daniel Boone

 8   Choice.”          See,     e.g.,    Grill     Model      Comparison      Chart,    available      at

 9   https://greenmountaingrills.com/prime-grill-comparison/. These products infringe the Asserted

10   Claims of the ’833 Patent when operated in the United States in the manner in which they are

11   designed. Traeger has not yet had the benefit of discovery, and thus this identification of specific

12   models or types of products is not intended to limit the scope of the Accused Products. Any

13   remedy should extend to all of Defendant GMG’s infringing products.

14             35.   On information and belief, use of the Accused Products directly infringes

15   independent claims 1, 11, and 18 and dependent claims 2, 3, 6–9, 12–14, and 22–24 of the ’833

16   Patent.

17             36.   Defendant GMG has violated 35 U.S.C. § 271(a), (b), and (c) by infringing the

18   Asserted Patents directly, either literally or under the doctrine of equivalents, and indirectly.

19   Defendant GMG directly infringes by using in the United States the systems and methods of the

20   Asserted Claims of the ’833 Patent through Defendant’s operation, demonstration, and/or testing

21   of GMG’s cloud-connected grills with “WiFi Smart Control” in conjunction with Defendant

22   GMG’s cloud-based server and mobile application. In addition, Defendant GMG’s retailers and

23   customers directly infringe by using the systems and methods of the Asserted Claims of the ’833

24   Patent when operating Defendant GMG’s cloud-connected grills with “Wifi Smart Control” in

25   conjunction with Defendant GMG’s cloud-based server and its mobile application.

26             37.   Additionally, Defendant GMG indirectly infringes because it knowingly and

27   intentionally encourages and/or aids its retailers and customers to practice the systems and

28                                                     8
          Case 2:20-cv-02161-MMD-DJA Document 1 Filed 11/24/20 Page 10 of 13




 1   methods of the Asserted Claims of the ’833 Patent by offering to sell, selling, and importing the

 2   Accused Products to its customers in the United States and providing instructions for using the

 3   Accused Products in conjunction with Defendant GMG’s cloud-based server and mobile

 4   application in an infringing manner. Defendant GMG provides these instructions at least via its

 5   product manuals, its publicly accessible website, its mobile device software application, and its

 6   other publicly accessible advertising and documents.

 7          38.     Defendant GMG had knowledge of its infringement of the ’833 Patent at least as

 8   early as March 14, 2018 when Traeger sent Defendant GMG a cease-and-desist letter identifying

 9   the ’336 Publication of the application that eventually issued as the ’833 Patent.

10          39.     Defendant GMG also had knowledge of its infringement of the ’833 Patent at

11   least as early as its February 26, 2019 issue date because Defendant GMG filed a petition for

12   post-grant review on the ’833 patent on the very same date.            Defendant GMG also has

13   knowledge of its infringement of the ’833 Patent from the filing and service of this complaint.

14   Defendant GMG actively promotes the sale, use, and importation of its infringing cloud-

15   connected wood-pellet grills in marketing materials, technical specifications, data sheets, web

16   pages on its website, press releases, and user manuals, as well as at trade shows and through its

17   sales and distribution channels that encourage infringing sales, offers to sell, and importation of

18   the Accused Products. By these actions, Defendant GMG has had the specific intent to induce,

19   or was willfully blind to inducing infringement of the ’833 Patent.

20          40.     On information and belief, Defendant GMG creates, endorses, and/or controls all

21   content posted on its website domain (greenmountaingrills.com) and the “Green Mountain

22   Grills” YouTube channel (www.youtube.com/channel/UCHSo9uoChX7HzISIptiFK3w).

23          41.     On information and belief, Defendant GMG also contributes to infringement of

24   the Asserted Claims of the ’833 Patent by others, including retailers and customers who use

25   Defendant GMG’s cloud-connected wood-pellet grills within the United States, by offering to

26   sell, selling, and importing the Accused Products in the United States which are specially made

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 1   or adapted for use in an infringing manner and are not staple articles of commerce suitable for

 2   substantial non-infringing use.

 3          42.     As explained above, Defendant GMG had actual knowledge of its infringement of

 4   the ’833 Patent at least as early as March 14, 2018, when Traeger sent Defendant GMG a cease-

 5   and-desist letter identifying the ’336 Publication, the application to which eventually issued as

 6   the ’833 Patent. Defendant GMG also had knowledge of its infringement of the ’833 Patent at

 7   least as early as its issue date of February 26, 2019 because Defendant GMG filed a petition for

 8   post-grant review on the ’833 Patent on the very same date.

 9          43.     A preliminary and exemplary claim chart comparing the Asserted Claims of the

10   ’833 Patent to Defendant GMG’s Accused Products is attached as Exhibit 6.

11
                                         PRAYER FOR RELIEF
12

13          WHEREFORE, Plaintiff Traeger prays for the following judgement and relief against

14   Defendant GMG:

15          (a)     A judgment that Defendant GMG has infringed and is infringing the ’720 Patent

16                  and the ’883 Patent under at least 35 U.S.C. §§ 271(a), (b), and/or (c);

17          (b)     A judgment that Defendant GMG’s infringement of the ’720 Patent and the ’883

18                  Patent was and is willful;

19          (c)     A permanent injunction against Defendant GMG and its affiliates, subsidiaries,

20                  assigns, employees, or agents from directly infringing, inducing, or contributing

21                  to the infringement of the ’720 Patent and the ’883 Patent;

22          (d)     An award of all damages, to be obtained from any and all of Defendant GMG’s

23                  assets, adequate to compensate Plaintiff Traeger for the infringement committed

24                  by Defendant GMG, pursuant to at least 35 U.S.C. § 284;

25          (e)     An award of enhanced damages, to be obtained from any and all of Defendant

26                  GMG’s assets, or three times the amount found or assessed for GMG’s willful

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           Case 2:20-cv-02161-MMD-DJA Document 1 Filed 11/24/20 Page 12 of 13




 1                   patent infringement, pursuant to 35 U.S.C. § 284, including prejudgment interest

 2                   on such damages;

 3           (f)     An order finding this case exceptional and awarding Traeger its attorneys’ fees, to

 4                   be obtained from any and all of Defendant GMG’s assets, pursuant to 35 U.S.C.

 5                   § 285, including prejudgment interest on such fees;

 6           (g)     An accounting and supplemental damages for all damages occurring after the

 7                   period for which discovery is taken, and after discovery closes, through the

 8                   Court’s decision regarding the imposition of a permanent injunction;

 9           (h)     An award of Traeger’s costs and expenses of this suit as a prevailing party, to be

10                   obtained from any and all of Defendant GMG’s assets; and

11           (i)     Such other relief, in law or equity, as this Court deems just and proper.

12
                                      DEMAND FOR JURY TRIAL
13

14           Pursuant to Federal Rule of Civil Procedure 38(b), Traeger hereby demands a trial by

15   jury on all issues so triable.

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          Case 2:20-cv-02161-MMD-DJA Document 1 Filed 11/24/20 Page 13 of 13




     Dated: November 24, 2020             Respectfully submitted,
 1

 2

 3                                        /s/ Ryan M. Lower
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13
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14                                        Traeger Pellet Grills LLC
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